B 2100A (Form 2100A) (12/15)

                             UNITED STATES BANKRUTPCY COURT
                              WESTERN DISTRICT OF LOUISIANA
                                   ALEXANDRIA DIVISION

 In re       JUSTIN P. FORD                                                          Case No. 20-80185
             LORI P. FORD

                TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of
the transfer, other than for security, of the claim referenced in this evidence and notice.

    Government National Mortgage                                       United Security Financial Corporation
    Association                                                                 Name of Transferor
              Name of Transferee
                                                                       Court Claim # (if known): 12
    Name and Address where notices to                                  Amount of Claim: $167,780.24
    transferee should be sent:                                         Date Claim Filed: 10/14/2020

    BSI Financial Services                                             Phone: 877-426-8805
    Customer Care                                                      Last Four Digits of Acct.#: 8215
    314 S Franklin St, 2nd Floor
    Titusville, PA 16354

    Phone: 800-327-7861
    Last Four Digits of Acct.#: 8215

    Name and Address where
    transferee payments should be sent
    (if different from above):

    BSI Financial Services
    PO Box 679002
    Dallas, TX 75267-9002
    Phone: 800-327-7861
    Last Four Digits of Acct.#: 8215


I declare under penalty of perjury that the information provided in this notice is true and correct
to the best of my knowledge and belief.

 By:      /s/ Elizabeth Crowell Price                                 Date:     04/13/2021
          Transferee/Transferee’s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 &
3571.




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                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF LOUISIANA
                               ALEXANDRIA DIVISION

 IN RE:     JUSTIN P. FORD                                            CASE NO. 20-80185
            LORI P. FORD                                              CHAPTER 13

                                 CERTIFICATE OF SERVICE

        I, Elizabeth Crowell Price, hereby certify that I have notified the following interested

parties of the Transfer of Claim filed by GOVERNMENT NATIONAL MORTGAGE

ASSOCIATION, AS SERVICED BY BSI FINANCIAL SERVICES, as reflected on the foregoing

notice, to-wit:

 Justin P. Ford                                    Jon C. Thornburg
 Lori P. Ford                                      Trustee
 3876 Hwy 923                                      PO Box 11877
 Jonesville, LA 71343                              Alexandria, LA 71315

 L. Laramie Henry                                  Office of the U.S. Trustee
 Attorney at Law                                   300 Fannin Street
 P.O. Box 8536                                     Suite 3196
 Alexandria, LA 71306                              Shreveport, LA 71101


by mailing this notice and a copy of the Transfer of Claim filed herein by United States Mail,

first class, postage prepaid and properly addressed, all on this the 13th day of April, 2021.

                                                  DEAN MORRIS, L.L.C.
                                                  1820 Avenue of America
                                                  P.O. Box 15270
                                                  Monroe, LA 71207-5270
                                                  (318) 388-1440

                                                  /S/Elizabeth Crowell Price
                                                  ATTORNEY FOR CREDITOR




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